UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA         :
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               - v. -            :                          S1 14 Cr. 68 (KBF)
                                 :                      :
ROSS ULBRICHT,                   :
 a/k/a “Dread Pirate Roberts,”   :
 a/k/a “DPR,”                    :
 a/k/a “Silk Road,”              :
                                 :
               Defendant.        :
                                 :                      :
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               MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT’S
                        SECOND MOTION TO DISMISS

           On August 21, 2014, the Government filed a superseding indictment in this matter (the

“Superseding Indictment”), adding several charges that were not included in the original

indictment, including one count of distributing or aiding and abetting the distribution of

narcotics, in violation of Title 21, United States Code, Section 841(a) (Count One), and one

count of distributing or aiding and abetting the distribution of narcotics by means of the Internet,

in violation of Title 21, United States Code, Section 841(h) (Count Two). The Superseding

Indictment also added additional language to the narcotics conspiracy count included in the

original indictment (now Count Three), so as to make clear that aiding and abetting the

distribution of narcotics is included within the objects of the conspiracy. The Superseding

Indictment made no changes to the other narcotics count included in the original indictment (now

Count Four), which charges Ulbricht with engaging in a continuing criminal enterprise (“CCE”)

in violation of Title 21, United States Code, Section 848, sometimes referred to as the “kingpin”

statute.
       Ulbricht now moves to dismiss all of the narcotics charges in the Superseding Indictment,

that is, Counts One through Four. According to the motion, by charging Ulbricht “on the basis

that he was either a drug ‘kingpin,’ as alleged in Count Four . . . or merely aiding and abetting

others in violating the narcotics laws, which the government presents as a theory of liability for

the offenses charged in Counts One, Two and Three,” “the government has crossed [the] lines of

judicial fairness by presenting irreconcilably inconsistent theories regarding Mr. Ulbricht’s

alleged commission of the offenses charged in Counts One through Four, and thus violating his

Fifth Amendment right to due process.” (Br. 3-4). This argument is meritless.

       To begin with, the CCE charge in Count Four is not inconsistent with the aiding and

abetting allegations in Counts One through Three. To convict a defendant of engaging in a CCE,

the Government must prove that he committed a federal narcotics felony as part of a “continuing

series” of federal narcotics offenses, undertaken with others whom he organized, supervised, or

managed, and from which he received substantial profit. The law is clear that “aiding and

abetting the violation of federal narcotics laws may serve as a predicate offense in support of a

CCE conviction.” United States v. Joyner, 313 F.3d 40, 47 (2d Cir. 2002) (collecting cases).

Indeed, the Second Circuit has specifically held that “the kingpin” can be an “aider and abettor,”

and that there is no basis to “shield kingpins from CCE liability solely because they are

convicted as aiders and abettors rather than as principals with regard to the predicate crimes.”

United States v. Aiello, 864 F.2d 257, 264 (2d Cir. 1988). Hence, it is entirely consistent for the

Superseding Indictment to charge Ulbricht both with aiding and abetting the distribution of

narcotics and with violating the CCE statute.

       In any event, Ulbricht’s starting premise – that an indictment cannot allege alternative

theories of liability – has no support in the law. “An indictment is not defective simply because


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it charges a defendant with alternative offenses.” Whitfield v. Ricks, No. 01 Civ. 11398 (LAK),

2006 WL 3030883, at *12 (S.D.N.Y. Oct. 24, 2006); cf. United States v. Masotto, 73 F.3d 1233,

1241 (2d Cir. 1996) (“When the jury is properly instructed on two alternative theories of liability

. . . we must affirm when the evidence is sufficient under either of the theories.”). Indeed, “[t]he

government often proceeds on multiple theories in indictments such as those which charge that a

defendant distributed or possessed with intent to distribute narcotics.” United States v. Garcia,

No. 88 Cr. 852 (LBS), 1990 WL 200652, at *4 (S.D.N.Y. Dec. 8, 1990). Moreover, “[t]wo

crimes for the same conduct requiring different mens rea may be charged in the same

indictment.” Haynes v. Ercole, No. 08 Civ. 3643 (JFB), 2011 WL 2341277, at *25 (E.D.N.Y.

Jun. 8, 2011). Hence, the Government is well within its rights to include charges in the

Superseding Indictment based on various theories of liability – including substantive and

conspiratorial liability, and principal and aider-and-abettor liability. United States v. Hinton, 543

F.2d 1002, 1014 (2d Cir.1976) (noting that “[a] conspiracy count may be charged along with

substantive offenses in the same indictment”); Narvaez v. United States, No. 95 CR 941 PKL,

2003 WL 21749638, at *5 (S.D.N.Y. Jul. 29, 2003) (“[T]he indictment clearly charged both

principal and aiding and abetting violations and the jury instructions were correct regarding

every element of each alleged crime. Based on the evidence presented at trial, the jury could

have reached a guilty verdict under either theory.”).

        Ulbricht claims that “the doctrine that a prosecutor’s advancement of inconsistent

irreconcilable theories denies due process has been endorsed by multiple circuits and

jurisdictions,” (Br. 6), but all of the cases he cites for this proposition are glaringly off point.

The cases concern situations in which the prosecution adopted two factually irreconcilable

positions at two different trials to convict two different defendants of the same crime. (See, e.g.,


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Br. 6 (citing Bradshaw v. Stumpf, 545 U.S. 175 (2005) as a case that was “remand[ed] to Sixth

Circuit to determine if imposition of the death penalty violated due process when prosecutor

argued Defendant ‘A’ was shooter in trial of that defendant, but that Defendant ‘B’ was the

shooter in a subsequent trial of Defendant ‘B’”). Here, there is only one defendant, Ulbricht,

who is simply being charged with several different narcotics offenses, all of which have been

properly pled. The charges are consistent with one another, as explained above; but in any event

nothing in the law prevents the Government presenting all of these charges at trial, for the jury to

decide whether the elements of each have been met.1

                                          CONCLUSION

       For the reasons set forth above, Ulbricht’s motion should be denied.

Dated: October 7, 2014                                Respectfully submitted,
       New York, New York
                                                      PREET BHARARA
                                                      United States Attorney for the
                                                      Southern District of New York

                                                 By: /s/ Serrin Turner
                                                    SERRIN TURNER
                                                    TIMOTHY HOWARD
                                                    Assistant United States Attorneys




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  Aside from moving to dismiss Counts One through Four, Ulbricht’s motion also seeks a bill of
particulars with respect to the Superseding Indictment, reiterating the arguments made in support
of his request for a bill of particulars with respect to the original indictment. For the reasons set
forth in the Government’s opposition to that prior request, Ulbricht’s instant request for a bill of
particulars should be denied. The Superseding Indictment, coupled with the complaint and
discovery provided in this case, are more than sufficient to put Ulbricht on notice of the charges
against him and to enable him to prepare a defense.


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